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                                UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MASSACHUSETTS


 ___________________________________,                 *
                                                      *
         Plaintiff(s),                                *
                                                      *
                         v.                           *       Civil Action No. _____________________
                                                      *
 ___________________________________,                 *
                                                      *
         Defendant(s).                                *

                                 [PROPOSED] SCHEDULING ORDER
                                           _________________
TALWANI, D.J.


        This scheduling order is intended to provide a reasonable timetable for discovery and motion
practice in order to help ensure a fair and just resolution of this matter without undue expense or delay.




                   TIMETABLE FOR DISCOVERY AND MOTION PRACTICE


       Pursuant to Rule 16(b) of the Federal Rules of Civil Procedure and Local Rule 16.1(f), it is
hereby ORDERED that:


1.      Initial Disclosures. Initial disclosures required by Fed. R. Civ. P. 26(a)(1) and by this
        court's Notice of Scheduling Conference must be completed by ______________.

2.      Amendments to Pleadings. Except for good cause shown, no motions seeking leave to
        add new parties or to amend the pleadings to assert new claims or defenses may be filed
        after ______________.

3.      Fact Discovery.
        a.     All requests for production of documents and interrogatories must be served by
               ______________.
        b.     All requests for admission must be served by ______________.
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     c.     All depositions, other than expert depositions, must be completed by
            ______________.
     d.     All discovery, other than expert discovery, must be completed by
            ______________.

4.   Obligation to Supplement. Supplemental disclosures under Fed. R. Civ. P. 26(e) shall
     be made promptly after the receipt of information by the party or counsel and, in any
     event, no later than the completion of fact discovery, unless good reason can be shown
     for why such information was not available.

5.   Close of Fact Discovery Status Conference. A status conference will be held on or
     about the end of fact discovery.

6.   Expert Discovery.
     a.    Plaintiff(s)' trial expert(s) must be designated, and the information contemplated
           by Fed. R. Civ. P. 26(a)(2) must be disclosed by ______________.
     b.    Defendant(s)' trial experts must be designated, and the information contemplated
           by Fed. R. Civ. P. 26(a)(2) must be disclosed by ______________.
     c.    Trial experts must be deposed by ______________.

7.   Dispositive Motions. Dispositive motions, such as motions for summary judgment or
     partial summary judgment and motions for judgment on the pleadings, must be filed by
     ______________.



                              PROCEDURAL PROVISIONS

8.   Extension of Deadlines. All requests to extend or modify deadlines must be made by
     motion and must state: (1) the original date(s); (2) the number of previous requests for
     adjournment or extension; (3) whether these previous requests were granted or denied;
     (4) the reasons for the requested extension; and (5) whether the opposing party consents
     and, if not, the reasons given for refusing to consent. The motion shall also contain a
     summary of the discovery, if any, that remains to be taken, and a specific date when the
     requesting party expects to complete the additional discovery, join other parties, amend
     the pleadings, or file a motion. Motions to extend or modify deadlines will be granted
     only for good cause shown.

     If the requested extension or modification affects any other scheduled dates, a
     represented party must submit a proposed revised scheduling order using this template.
     (A pro se party may, but is not required to, submit a proposed revised scheduling order.)

     Absent an emergency, any request for an extension or adjournment shall be made at least
     forty-eight hours prior to the deadline or scheduled appearance.

9.   Motions to Compel or Prevent Discovery. Except for good cause shown, motions to
     compel discovery, motions for protective orders, motions to quash, motions to strike


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      discovery responses, and similar motions must be filed no later than seven days after the
      close of fact discovery or the close of expert discovery, whichever deadline is relevant. If
      additional discovery is compelled by the court after the relevant deadline has passed, the
      court may enter such additional orders relating to discovery as may be appropriate.

10.   Status Conferences. The court will schedule a status conference after (or close to) the
      close of fact discovery for case management purposes. Any party who reasonably
      believes that an additional status conference will assist in the management or resolution
      of the case may request one from the court upon reasonable notice to opposing counsel.

11.   Additional Conferences. Upon request of counsel, or at the court’s own initiative,
      additional case-management or status conferences may be scheduled.

12.   Early Resolution of Issues. The court recognizes that, in some cases, early resolution of
      one or more preliminary issues may remove a significant impediment to settlement or
      otherwise expedite resolution of the case. Counsel is encouraged to confer and jointly
      advise the court of any such issues.

13.   Pretrial Conference. Lead trial counsel are required to attend any pretrial conference.

14.   Discovery Disputes. Counsel encountering a discovery dispute are encouraged to
      request a conference with the court before filing a discovery motion. Counsel who opt to
      file a discovery motion shall comply with the court’s Standing Order on Discovery
      Disputes.



                                                                   ______________________
                                                                   United States District Judge




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